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                    Exhibit C
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     US7020105                                ChargePoint Gateway (the “Accused Product”)
Claim 1. A             The Accused Product can communicate via a GSM cellular connection and would adhere to the
communication          3GPP TS 45.002 V6.12.0 (2005-11) standard defining GSM as shown below.
method used in a
mobile station
apparatus which
performs
communication
using a TDMA frame
formed by eight
slots, a start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
fraction of a slot
from a start of a
TDMA frame on a
downlink, the
method comprising




                       https://www.chargepoint.com/files/datasheets/ds-cpgw.pdf




                       https://www.chargepoint.com/files/datasheets/ds-cpgw.pdf


                       3GPP TS 45.002 V6.12.0 (2005-11) provides a communication method used in a mobile station
                       apparatus (e.g. mobile station) which performs communication using a TDMA frame formed by
                       eight slots (e.g. eight timeslots shall form a TDMA frame), a start of a TDMA frame on an uplink
                 Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 3 of 58

                        being delayed by three slots (e.g. the uplink is delayed by the fixed period of three timeslots from
                        the start of the TDMA).




                        Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                        http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip

1a) receiving using a   3GPP TS 45.002 V6.12.0 (2005-11) provides receiving (e.g. Rx) using a reception slot of the TDMA
reception slot of the   frame on the downlink (e.g at frame 3 on downlink) after getting ready to receive (e.g. red
TDMA frame on the       highlight frames 0-2 on downlink).
downlink after
getting ready to
receive;
                 Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 4 of 58




                        3GPP TS 45.002 V6.12.0 (2005-11)
1b) transmitting        3GPP TS 45.002 V6.12.0 (2005-11) provides transmitting (e.g. Tx) using a transmission slot of the
using a transmission    TDMA frame on the uplink (e.g. frame 3 on uplink) after getting ready to transmit (e.g. red
slot of the TDMA        highlight frames 0-2 on uplink).
frame on the uplink
after getting ready
to transmit; and




1c) performing          3GPP TS 45.002 V6.12.0 (2005-11) provides performing adjacent cell signal level measurement
adjacent cell signal    before either getting ready to receive or getting ready to transmit (e.g. Tta and/or Tra as
level measurement       described below).
before either getting
ready to receive or
getting ready to
transmit,
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 5 of 58




                       3GPP TS 45.002 V6.12.0 (2005-11)

1d) wherein (i) when   3GPP TS 45.002 V6.12.0 (2005-11) provides (I) when a number of transmission slots used in one
a number of            TDMA frame on the uplink is below a predetermined number, then, after transmitting using a
transmission slots     transmission slot of the TDMA frame on the uplink, a time allocation of two consecutive slots
used in one TDMA       shall apply for performing adjacent cell signal level measurement (e.g. Tra as defined below and
frame on the uplink    Table B.1) and getting ready to receive (Ttb as defined below and Table B.1) and (ii) when the
is below a             number of transmission slots used in one TDMA frame on the uplink is the predetermined
predetermined          number, then, after receiving using a reception slot of the TDMA frame on the downlink, a time
number, then, after    allocation of two consecutive slots shall apply for performing adjacent cell signal level
transmitting using a   measurement (e.g. Tta as defined below and Table B.1) and getting ready to transmit (e.g. Trb as
transmission slot of   defined below and Table B.1).
the TDMA frame on
the uplink, a time
allocation of two
consecutive slots
shall apply for
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 6 of 58

performing adjacent
cell signal level
measurement and
getting ready to
receive and (ii) when
the number of
transmission slots
used in one TDMA
frame on the uplink
is the
predetermined
number, then, after
receiving using a
reception slot of the
TDMA frame on the
downlink, a time
allocation of two
consecutive slots
shall apply for
performing adjacent
cell signal level
measurement and
getting ready to
transmit.
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                   3GPP TS 45.002 V6.12.0 (2005-11)
Claim 2. A         3GPP TS 45.002 V6.12.0 (2005-11) provides a communication method used in a mobile station
communication      apparatus (e.g. mobile station) which performs communication using a TDMA frame formed by
method used in a   eight slots (e.g. eight timeslots shall form a TDMA frame), a start of a TDMA frame on an uplink
mobile station
                 Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 8 of 58

apparatus which         being delayed by three slots (e.g. the uplink is delayed by the fixed period of three timeslots from
performs                the start of the TDMA).
communication
using a TDMA frame
formed by eight
slots, a start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
fraction of a slot
from a start of a
TDMA frame on a
downlink, the
method comprising




                        Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                        http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip

2a) receiving using a   3GPP TS 45.002 V6.12.0 (2005-11) provides receiving (e.g. Rx) using a reception slot of the TDMA
reception slot of the   frame on the downlink (e.g at frame 3 on downlink) after getting ready to receive (e.g. red
TDMA frame on the       highlight frames 0-2 on downlink).
downlink after
getting ready to
receive;
                 Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 9 of 58




                        3GPP TS 45.002 V6.12.0 (2005-11)
2b) transmitting        3GPP TS 45.002 V6.12.0 (2005-11) provides transmitting (e.g. Tx) using a transmission slot of the
using a transmission    TDMA frame on the uplink (e.g. fram 3 on uplink) after getting ready to transmit (e.g. red
slot of the TDMA        highlight frames 0-2 on uplink).
frame on the uplink
after getting ready
to transmit; and




2c) performing          3GPP TS 45.002 V6.12.0 (2005-11) provides performing adjacent cell signal level measurement
adjacent cell signal    before either getting ready to receive or getting ready to transmit (e.g. Tta and/or Tra as
level measurement       described below).
before either getting
ready to receive or
getting ready to
transmit,
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 10 of 58




                       3GPP TS 45.002 V6.12.0 (2005-11)

2d) wherein when a     3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used in one
number of              TDMA frame on the uplink is a predetermined number, and when there is not a time of two slots
transmission slots     necessary for the adjacent cell signal level measurement and getting ready to receive after a last
used in one TDMA       used transmission slot, then, a time allocation of two consecutive slots is provided for performing
frame on the uplink    adjacent cell signal level measurement (e.g. Tta as defined below and Table B.1) and getting
is a predetermined     ready to transmit (e.g. Trb as defined below and Table B.1) before a first transmission slot.
number and when
there is not a time
of two slots
necessary for the
adjacent cell signal
level measurement
and getting ready to
receive after a last
used transmission
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 11 of 58

slot, then a time
allocation of two
consecutive slots is
provided for
performing adjacent
cell signal level
measurement and
getting ready to
transmit before a
first transmission
slot.
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                       3GPP TS 45.002 V6.12.0 (2005-11)
Claim 3. A             3GPP TS 45.002 V6.12.0 (2005-11) provides a communication method used in a mobile station
communication          apparatus (e.g. mobile station) which performs communication using a TDMA frame formed by
method used in a       eight slots (e.g. eight timeslots shall form a TDMA frame), a start of a TDMA frame on an uplink
mobile station         being delayed by three slots (e.g. the uplink is delayed by the fixed period of three timeslots from
apparatus which        the start of the TDMA).
performs
communication
using a TDMA frame
formed by eight
slots, a start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 13 of 58

fraction of a slot
from a start of
TDMA frame on a
downlink, the
method comprising:




                        Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                        http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip



3a) receiving using a   3GPP TS 45.002 V6.12.0 (2005-11) provides receiving (e.g. Rx) using a reception slot of the TDMA
reception slot of the   frame on the downlink (e.g. at frame 3 on downlink) after getting ready to receive (e.g. red
TDMA frame on the       highlight frames 0-2 on downlink).
downlink after
getting ready to
receive;
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 14 of 58




                        3GPP TS 45.002 V6.12.0 (2005-11)
3b) transmitting        3GPP TS 45.002 V6.12.0 (2005-11) provides transmitting (e.g. Tx) using a transmission slot of the
using a transmission    TDMA frame on the uplink (e.g. frame 3 on uplink) after getting ready to transmit (e.g. red
slot of the TDMA        highlight frames 0-2 on uplink).
frame on the uplink
after getting ready
to transmit; and




3c) performing          3GPP TS 45.002 V6.12.0 (2005-11) provides performing adjacent cell signal level measurement
adjacent cell signal    before either getting ready to receive or getting ready to transmit (e.g. Tta and/or Tra as
level measurement       described below).
before either getting
ready to receive or
getting ready to
transmit,
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 15 of 58




                       3GPP TS 45.002 V6.12.0 (2005-11)

3d) wherein (i) when   3GPP TS 45.002 V6.12.0 (2005-11) provides (I) when a number of transmission slots used in one
a number of            TDMA frame on the uplink is below a predetermined number, then Tra and Ttb shall apply (e.g.
transmission slots     Table B.1), Tra being a time needed for the mobile station apparatus to perform adjacent cell
used in one TDMA       signal level measurement and get ready to receive (e.g. Tra as defined below) and a minimum
frame on the uplink    number of slots of Tra being two slots (e.g. yellow highlights, Table B.1), and Ttb being a time
is below a             needed for the mobile station apparatus to get ready to transmit (e.g. TTb as defined below) and
predetermined          a minimum number of slots of Ttb being one slot(e.g. yellow highlights, Table B.1), and and (ii)
number, then Tra       when the number of transmission slots used in one TDMA frame on the uplink is the
and Ttb shall apply,   predetermined number, then Tta and Trb shall apply (e.g. Table B.1), Tta being a time needed for
Tra being a time       the mobile station apparatus to perform adjacent cell signal level measurement and get ready to
needed for the         transmit (e.g. Tta as defined below) and a minimum number of slots of Tta being two slots (e.g.
mobile station         green highlights, Table B.1) and Trb being a time needed for the mobile station apparatus to get
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 16 of 58

apparatus to           ready to receive and a minimum number of slots (e.g. Trb as defined bellow) and of Trb being
perform adjacent       one slot (e.g. green highlights, Table B.1).
cell signal level
measurement and
get ready to receive
and a minimum
number of slots of
Tra being two slots,
and Ttb being a time
needed for the
mobile station
apparatus to get
ready to transmit
and a minimum
number of slots of
Ttb being one slot,
and (ii) when the
number of
transmission slots
used in one TDMA
frame on the uplink
is the
predetermined
number, then Tta
and Trb shall apply,
Tta being a time
needed for the
mobile station
apparatus to
perform adjacent
cell signal level
measurement and
get ready to
transmit_and a
minimum number of
slots of Tta being
two slots, and Trb
being a time needed
for the mobile
station apparatus to
get ready to receive
and a minimum
number of slots of
Trb being one slot.
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 17 of 58




                        3GPP TS 45.002 V6.12.0 (2005-11)
Claim 4 The method      3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
according to claim 1,   claim 1, 3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used in
wherein the             one TDMA frame on the uplink is below a predetermined number (below four) , a minimum
                        number of slots of Tra is two slots and a minimum number of slots of Ttb is one slot. It also
                  Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 18 of 58

predetermined           provides that when it is the predetermined number (four, Table B.1) a minimum number of slots
number is four.         of Tta is two slots and a minimum number of slots of Trb is one slot.




Claim 5. The method     3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
according to claim 2,   claim 2, 3GPP TS 45.002 V6.12.0 (2005-11) that when it is the predetermined number (four, Table
wherein the             B.1) a minimum number of slots of Tta is two slots and a minimum number of slots of Trb is one
predetermined           slot.
number is four.
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 19 of 58




Claim 6. The           3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
method according to    claim 3, 3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used in
claim 3, wherein the   one TDMA frame on the uplink is below a predetermined number (below four) , a minimum
predetermined          number of slots of Tra is two slots and a minimum number of slots of Ttb is one slot. It also
number is four.        provides that when it is the predetermined number (four, Table B.1) a minimum number of slots
                       of Tta is two slots and a minimum number of slots of Trb is one slot.
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Claim 7. The method     3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 1, wherein the
according to claim 1,   method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
wherein the method      (GPRS).
is applied to a
mobile station of a
multislot class 12 in
a General Packet
Radio System
(GPRS).
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 21 of 58




Claim 8. The method     3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 2, wherein the
according to claim 2,   method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
wherein the method      (GPRS).
is applied to a
mobile station of a
multislot class 12 in
a General Packet
Radio System
(GPRS).
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 22 of 58




Claim 9. The method     3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 3, wherein the
according to claim 3,   method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
wherein the method      (GPRS).
is applied to a
mobile station of a
multislot class 12 in
a General Packet
Radio System
(GPRS).
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 23 of 58




Claim 10. A mobile     3GPP TS 45.002 V6.12.0 (2005-11) provides a mobile station apparatus (e.g. mobile station)
station apparatus      which performs communication using a TDMA frame formed by eight slots (e.g. eight timeslots
which performs         shall form a TDMA frame), a start of a TDMA frame on an uplink being delayed by three slots
communication          (e.g. the uplink is delayed by the fixed period of three timeslots from the start of the TDMA).
using a TDMA frame
formed by eight
slots, start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
fraction of a slot
from a start of a
TDMA frame on a
downlink, the
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 24 of 58

apparatus
comprising:




                        Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                        http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip


10a) a reception        3GPP TS 45.002 V6.12.0 (2005-11) provides a reception section that receives (e.g. Rx) using a
section that receives   reception slot of the TDMA frame on the downlink (e.g at frame 3 on downlink) after getting
using a reception       ready to receive (e.g. red highlight frames 0-2 on downlink).
slot of the TDMA
frame on the
downlink after
getting ready to
receive;
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 25 of 58




                        3GPP TS 45.002 V6.12.0 (2005-11)
10b) a transmission     3GPP TS 45.002 V6.12.0 (2005-11) provides a transmission section (e.g. Tx) using a transmission
section that            slot of the TDMA frame on the uplink (e.g. fram 3 on uplink) after getting ready to transmit (e.g.
transmits using a       red highlight frames 0-2 on uplink).
transmission slot of
the TDMA frame on
the uplink after
getting ready to
transmit; and




10c) a measurement      3GPP TS 45.002 V6.12.0 (2005-11) provides a measurement section that performs adjacent cell
section that            signal level measurement before either getting ready to receive or getting ready to transmit (e.g.
performs adjacent       Tta and/or Tra as described below).
cell signal level
measurement
before either getting
ready to receive or
getting ready to
transmit,
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 26 of 58




                       3GPP TS 45.002 V6.12.0 (2005-11)

10d) wherein (I)       3GPP TS 45.002 V6.12.0 (2005-11) provides (I) when a number of transmission slots used in one
when a number of       TDMA frame on the uplink is below a predetermined number, then, after transmitting using a
transmission slots     transmission slot of the TDMA frame on the uplink, a time allocation of two consecutive slots
used in one TDMA       shall apply for performing adjacent cell signal level measurement (e.g. Tra as defined below and
frame on the uplink    Table B.1) and getting ready to receive (Ttb as defined below and Table B.1) and (ii) when the
is below a             number of transmission slots used in one TDMA frame on the uplink is the predetermined
predetermined          number, then, after receiving using a reception slot of the TDMA frame on the downlink, a time
number, then, after    allocation of two consecutive slots shall apply for performing adjacent cell signal level
transmitting using a   measurement (e.g. Tta as defined below and Table B.1) and getting ready to transmit (e.g. Trb as
transmission slot of   defined below and Table B.1).
the TDMA frame on
the uplink, a time
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 27 of 58

allocation of two
consecutive slots
shall apply for
performing adjacent
cell signal level
measurement and
getting ready to
receive and (ii) when
the number of
transmission slots
used in one TDMA
frame on the uplink
is the
predetermined
number, then, after
receiving using a
reception slot of the
TDMA frame on the
downlink, a time
allocation of two
consecutive slots
shall apply for
performing adjacent
cell signal level
measurement and
getting ready to
transmit.
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 28 of 58




                     3GPP TS 45.002 V6.12.0 (2005-11)
Claim 11. A mobile   3GPP TS 45.002 V6.12.0 (2005-11) provides a mobile station apparatus (e.g. mobile station)
station apparatus    which performs communication using a TDMA frame formed by eight slots (e.g. eight timeslots
which performs       shall form a TDMA frame), a start of a TDMA frame on an uplink being delayed by three slots
communication        (e.g. the uplink is delayed by the fixed period of three timeslots from the start of the TDMA).
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 29 of 58

using a TDMA frame
formed by eight
slots, a start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
fraction of a slot
from a start of a
TDMA frame on a
downlink, the
apparatus
comprising:




                        Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                        http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip


11a) a reception        3GPP TS 45.002 V6.12.0 (2005-11) provides a reception section that receives (e.g. Rx) using a
section that receives   reception slot of the TDMA frame on the downlink (e.g at frame 3 on downlink) after getting
using a reception       ready to receive (e.g. red highlight frames 0-2 on downlink).
slot of the TDMA
frame on the
                   Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 30 of 58

downlink after
getting ready to
receive;




                        3GPP TS 45.002 V6.12.0 (2005-11)
11b) a transmission     3GPP TS 45.002 V6.12.0 (2005-11) provides a transmission section (e.g. Tx) using a transmission
section that            slot of the TDMA frame on the uplink (e.g. fram 3 on uplink) after getting ready to transmit (e.g.
transmits using a       red highlight frames 0-2 on uplink).
transmission slot of
the TDMA frame on
the uplink after
getting ready to
transmit; and




11c) a measurement      3GPP TS 45.002 V6.12.0 (2005-11) provides a measurement section that performs adjacent cell
section that            signal level measurement before either getting ready to receive or getting ready to transmit (e.g.
performs adjacent       Tta and/or Tra as described below).
cell signal level
measurement
before either getting
ready to receive or
getting ready to
transmit,
              Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 31 of 58




                      3GPP TS 45.002 V6.12.0 (2005-11)

11d) wherein when     3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used in one
a number of           TDMA frame on the uplink is a predetermined number, and when there is not a time of two slots
transmission slots    necessary for the adjacent cell signal level measurement and getting ready to receive after a last
used in one TDMA      used transmission slot, then, a time allocation of two consecutive slots is provided for performing
frame on the uplink   adjacent cell signal level measurement (e.g. Tta as defined below and Table B.1) and getting
is a predetermined    ready to transmit (e.g. Trb as defined below and Table B.1) before a first transmission slot.
number and when
there is not a time
of two slots
necessary for
performing adjacent
cell signal level
measurement and
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 32 of 58

getting ready to
receive after a last
used transmission
slot, then a time
allocation of two
consecutive slots is
provided for
performing adjacent
cell signal level
measurement and
getting ready to
transmit before a
first transmission
slot.
               Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 33 of 58




                       3GPP TS 45.002 V6.12.0 (2005-11)
Claim 12. A mobile     3GPP TS 45.002 V6.12.0 (2005-11) provides a mobile station apparatus (e.g. mobile station)
station apparatus      which performs communication using a TDMA frame formed by eight slots (e.g. eight timeslots
which performs         shall form a TDMA frame), a start of a TDMA frame on an uplink being delayed by three slots
communication          (e.g. the uplink is delayed by the fixed period of three timeslots from the start of the TDMA).
using a TDMA frame
formed by eight
slots, a start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
fraction of a slot
from a start of a
TDMA frame on a
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downlink, the
apparatus
comprising:




                        Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                        http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip


12a) a reception        3GPP TS 45.002 V6.12.0 (2005-11) provides a reception section that receives (e.g. Rx) using a
section that receives   reception slot of the TDMA frame on the downlink (e.g at frame 3 on downlink) after getting
using a reception       ready to receive (e.g. red highlight frames 0-2 on downlink).
slot of the TDMA
frame on the
downlink after
getting ready to
receive;
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 35 of 58




                        3GPP TS 45.002 V6.12.0 (2005-11)
12b) a transmission     3GPP TS 45.002 V6.12.0 (2005-11) provides a transmission section (e.g. Tx) using a transmission
section that            slot of the TDMA frame on the uplink (e.g. fram 3 on uplink) after getting ready to transmit (e.g.
transmits using a       red highlight frames 0-2 on uplink).
transmission slot of
the TDMA frame on
the uplink after
getting ready to
transmit; and




12c) a measurement      3GPP TS 45.002 V6.12.0 (2005-11) provides a measurement section that performs adjacent cell
section that            signal level measurement before either getting ready to receive or getting ready to transmit (e.g.
performs adjacent       Tta and/or Tra as described below).
cell signal level
measurement
before either getting
ready to receive or
getting ready to
transmit,
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 36 of 58




                       3GPP TS 45.002 V6.12.0 (2005-11)

12d) wherein (I)       3GPP TS 45.002 V6.12.0 (2005-11) provides (I) when a number of transmission slots used in one
when a number of       TDMA frame on the uplink is below a predetermined number, then Tra and Ttb shall apply (e.g.
transmission slots     Table B.1), Tra being a time needed for the mobile station apparatus to perform adjacent cell
used in one TDMA       signal level measurement and get ready to receive (e.g. Tra as defined below) and a minimum
frame on the uplink    number of slots of Tra being two slots (e.g. yellow highlights, Table B.1), and Ttb being a time
is below a             needed for the mobile station apparatus to get ready to transmit (e.g. TTb as defined below) and
predetermined          a minimum number of slots of Ttb being one slot(e.g. yellow highlights, Table B.1), and and (ii)
number, then Tra       when the number of transmission slots used in one TDMA frame on the uplink is the
and Ttb shall apply,   predetermined number, then Tta and Trb shall apply (e.g. Table B.1), Tta being a time needed for
Tra being a time       the mobile station apparatus to perform adjacent cell signal level measurement and get ready to
needed for the         transmit (e.g. Tta as defined below) and a minimum number of slots of Tta being two slots (e.g.
mobile station         green highlights, Table B.1) and Trb being a time needed for the mobile station apparatus to get
apparatus to
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perform adjacent       ready to receive and a minimum number of slots (e.g. Trb as defined bellow) and of Trb being
cell signal level      one slot (e.g. green highlights, Table B.1).
measurement and
get ready to receive
and a minimum
number of slots of
Tra being two slots,
and Ttb being a time
needed for the
mobile station
apparatus to get
ready to transmit
and a minimum
number of slots of
Ttb being one slot,
and (ii) when the
number of
transmission slots
used in one TDMA
frame on the uplink
is the
predetermined
number, then Tta
and Trb shall apply,
Tta being a time
needed for the
mobile station
apparatus to
perform, adjacent
cell signal level
measurement and
get ready to
transmit and a
minimum number of
slots of Tta being
two slots, and Trb
being a time needed
for the mobile
station apparatus to
get ready to receive
and a minimum
number of slots of
Trb being one slot.
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                       3GPP TS 45.002 V6.12.0 (2005-11)
Claim 13. The          3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
apparatus according    claim 10, 3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used
to claim 10, wherein   in one TDMA frame on the uplink is below a predetermined number (below four) , a minimum
                       number of slots of Tra is two slots and a minimum number of slots of Ttb is one slot. It also
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the predetermined      provides that when it is the predetermined number (four, Table B.1) a minimum number of slots
number is four.        of Tta is two slots and a minimum number of slots of Trb is one slot.




Claim 14. The          3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
apparatus according    claim 11, 3GPP TS 45.002 V6.12.0 (2005-11) that when it is the predetermined number (four,
to claim 11, wherein   Table B.1) a minimum number of slots of Tta is two slots and a minimum number of slots of Trb is
the predetermined      one slot.
number is four.
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Claim 15. The         3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
method according to   claim 12, 3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used
claim 12, wherein     in one TDMA frame on the uplink is below a predetermined number (below four) , a minimum
the predetermined     number of slots of Tra is two slots and a minimum number of slots of Ttb is one slot. It also
number is four.       provides that when it is the predetermined number (four, Table B.1) a minimum number of slots
                      of Tta is two slots and a minimum number of slots of Trb is one slot.
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Claim 16. The           3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 10, wherein the
apparatus according     method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
to claim 10, wherein    (GPRS).
the apparatus is a
mobile station of
multislot class 12 in
a General Packet
Radio System
(GPRS).
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Claim 17. The           3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 11, wherein the
apparatus according     method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
to claim 11, wherein    (GPRS).
the apparatus is a
mobile station of a
multislot class 12 in
a General Packet
Radio System
(GPRS).
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Claim 18. The            3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 12, wherein the
method according to      method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
claim 12, wherein        (GPRS).
the method is
applied to a mobile
station of a multislot
class 12 in a General
Packet Radio System
(GPRS).
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Claim 19. A            3GPP TS 45.002 V6.12.0 (2005-11) provides a communication method used in a mobile station
communication          apparatus (e.g. mobile station) which performs communication using a TDMA frame formed by
method used in a       eight slots (e.g. eight timeslots shall form a TDMA frame), a start of a TDMA frame on an uplink
mobile station         being delayed by three slots (e.g. the uplink is delayed by the fixed period of three timeslots from
apparatus which        the start of the TDMA).
performs
communication
using a TDMA frame
formed by eight
slots, a start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
fraction of a slot
from a start of a
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TDMA frame on a
downlink, the
method comprising:




                       Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                       http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip



19a) receiving using   3GPP TS 45.002 V6.12.0 (2005-11) provides receiving (e.g. Rx) using a reception slot of the TDMA
a reception slot of    frame on the downlink (e.g at frame 3 on downlink) after getting ready to receive (e.g. red
the TDMA frame on      highlight frames 0-2 on downlink).
the downlink after
getting ready to
receive;
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                        3GPP TS 45.002 V6.12.0 (2005-11)
19b) transmitting       3GPP TS 45.002 V6.12.0 (2005-11) provides transmitting (e.g. Tx) using a transmission slot of the
using a transmission    TDMA frame on the uplink (e.g. fram 3 on uplink) after getting ready to transmit (e.g. red
slot of the TDMA        highlight frames 0-2 on uplink).
frame on the uplink
after getting ready
to transmit; and




19c) performing         3GPP TS 45.002 V6.12.0 (2005-11) provides performing adjacent cell signal level measurement
adjacent cell signal    before either getting ready to receive or getting ready to transmit (e.g. Tta and/or Tra as
level measurement       described below).
before either getting
ready to receive or
getting ready to
transmit,
                Case 3:20-cv-03594-VC Document 1-3 Filed 05/29/20 Page 47 of 58




                       3GPP TS 45.002 V6.12.0 (2005-11)
19d) wherein when      3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used in one
a number of            TDMA frame on the uplink is a predetermined number, and when there is a time of less than two
transmission slots     slots after a last used transmission slot, then a time allocation of two consecutive slots is
used in one TDMA       provided for performing adjacent cell signal level measurement (e.g. Tta as defined below and
frame on the uplink    Table B.1) and getting ready to transmit (e.g. Trb as defined below and Table B.1) before a first
is a predetermined     transmission slot.
number and when
there is a time of
less than two slots
after a last used
transmission slot,
then a time
allocation of two
consecutive slots is
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provided for
performing adjacent
cell signal level
measurement and
getting ready to
transmit before a
first transmission
slot.
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                       3GPP TS 45.002 V6.12.0 (2005-11)
Claim 20. A mobile     3GPP TS 45.002 V6.12.0 (2005-11) provides a mobile station apparatus (e.g. mobile station)
station apparatus      which performs communication using a TDMA frame formed by eight slots (e.g. eight timeslots
which performs         shall form a TDMA frame), a start of a TDMA frame on an uplink being delayed by three slots
communication          (e.g. the uplink is delayed by the fixed period of three timeslots from the start of the TDMA).
using a TDMA frame
formed by eight
slots, a start of a
TDMA frame on an
uplink being delayed
by three slots or
three slots minus a
fraction of a slot
from a start of a
TDMA frame on a
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downlink, the
apparatus
comprising:




                        Source: 3GPP TS 45.002 V6.12.0 (2005-11)
                        http://www.3gpp.org/ftp/Specs/archive/45_series/45.002/45002-6c0.zip


20a) a reception        3GPP TS 45.002 V6.12.0 (2005-11) provides a reception section that receives (e.g. Rx) using a
section that receives   reception slot of the TDMA frame on the downlink (e.g at frame 3 on downlink) after getting
using a reception       ready to receive (e.g. red highlight frames 0-2 on downlink).
slot of the TDMA
frame on the
downlink after
getting ready to
receive;
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                        3GPP TS 45.002 V6.12.0 (2005-11)
20b) a transmission     3GPP TS 45.002 V6.12.0 (2005-11) provides a transmission section (e.g. Tx) using a transmission
section that            slot of the TDMA frame on the uplink (e.g. fram 3 on uplink) after getting ready to transmit (e.g.
transmits using a       red highlight frames 0-2 on uplink).
transmission slot of
the TDMA frame on
the uplink after
getting ready to
transmit; and




20c) a measurement      3GPP TS 45.002 V6.12.0 (2005-11) provides a measurement section that performs adjacent cell
section that            signal level measurement before either getting ready to receive or getting ready to transmit (e.g.
performs adjacent       Tta and/or Tra as described below).
cell signal level
measurement
before either getting
ready to receive or
getting ready to
transmit,
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                       3GPP TS 45.002 V6.12.0 (2005-11)
20d) wherein when      3GPP TS 45.002 V6.12.0 (2005-11) provides when a number of transmission slots used in one
a number of            TDMA frame on the uplink is a predetermined number, and when there is a time of less than two
transmission slots     slots after a last used transmission slot, then a time allocation of two consecutive slots is
used in one TDMA       provided for performing adjacent cell signal level measurement (e.g. Tta as defined below and
frame on the uplink    Table B.1) and getting ready to transmit (e.g. Trb as defined below and Table B.1) before a first
is a predetermined     transmission slot.
number and when
there is a time of
less than two slots
after a last used
transmission slot,
then a time
allocation of two
consecutive slots is
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provided for
performing adjacent
cell signal level
measurement and
getting ready to
transmit before a
first transmission
slot.
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                      3GPP TS 45.002 V6.12.0 (2005-11)
Claim 21. The         3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
method according to   claim19, 3GPP TS 45.002 V6.12.0 (2005-11) that when it is the predetermined number (four,
claim 19, wherein     Table B.1) a minimum number of slots of Tta is two slots and a minimum number of slots of Trb is
the predetermined     one slot.
number is four.
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Claim 22. The            3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 19, wherein the
method according to      method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
claim 19, wherein        (GPRS).
the method is
applied to a mobile
station of a multislot
class 12 in a General
Packet Radio system
(GPRS).
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Claim 23. The          3GPP TS 45.002 V6.12.0 (2005-11) provides the predetermined number is four. Specifically as per
apparatus according    claim 20, 3GPP TS 45.002 V6.12.0 (2005-11) that when it is the predetermined number (four,
to claim 20, wherein   Table B.1) a minimum number of slots of Tta is two slots and a minimum number of slots of Trb is
the predetermined      one slot.
number is four.
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Claim 24. The            3GPP TS 45.002 V6.12.0 (2005-11) provides the method according to claim 20, wherein the
apparatus according      method is applied to a mobile station of a multislot class 12 in a General Packet Radio System
to claim 20, wherein     (GPRS).
the method is
applied to a mobile
station of a multislot
class 12 in a General
Packet Radio system
(GPRS).
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